 4:11-cr-03087-JMG-CRZ             Doc # 35   Filed: 01/27/12    Page 1 of 1 - Page ID # 50




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                   4:11CR3087
                                              )
               v.                             )
                                              )        MEMORANDUM AND ORDER
GUY E. ALLEN,                                 )
                                              )
                      Defendant.              )

       The defendant has moved to continue the trial currently set for February 27, 2011.
(Filing No. 34.) As explained in the motion, defense counsel was recently appointed and
needs additional time to investigate this case and confer with the defendant. The government
does not oppose the requested continuance. The court finds the motion should be granted.
Accordingly,


       IT IS ORDERED:

       1)      Defendant’s motion to continue, (filing no. 34), is granted.

       2)      The trial of this case is set to commence before the Honorable Richard G. Kopf
               at 9:00 a.m. on March 26, 2012, or as soon thereafter as the case may be called,
               for a duration of five (5) trial days. Jury selection will be held at
               commencement of trial.

       3)      Based upon the showing set forth in the defendant’s motion and the
               representations of defendant’s counsel, the Court further finds that the ends of
               justice will be served by continuing the trial; and that the purposes served by
               continuing the trial date in this case outweigh the interest of the defendant and
               the public in a speedy trial. Accordingly, the time between today’s date and
               March 26, 2012 shall be excluded for speedy trial calculation purposes. 18
               U.S.C. § 3161(h)(7)(A).


               January 27, 2012.                   BY THE COURT:

                                                   s/ Cheryl R. Zwart
                                                   United States Magistrate Judge
